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                                Nebraska Court of A ppeals A dvance Sheets
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                                               IN RE INTEREST OF AUSTIN G.
                                                   Cite as 24 Neb. App. 773



                                        In   re I nterest of    Austin G.,     a child
                                                under     18   years of age.
                                             State   of Nebraska, appellee, v.
                                                     K ayla S. appellant.
                                                         ___ N.W.2d ___

                                              Filed June 13, 2017.    No. A-16-947.

                1.	 Juvenile Courts: Appeal and Error. An appellate court reviews juve-
                     nile cases de novo on the record and reaches its conclusions indepen-
                     dently of the juvenile court’s findings. When the evidence is in conflict,
                     however, an appellate court may give weight to the fact that the lower
                     court observed the witnesses and accepted one version of the facts over
                     the other.
                2.	 Parental Rights: Proof. In order to terminate parental rights, a court
                     must find clear and convincing evidence that one of the statutory
                     grounds enumerated in Neb. Rev. Stat. § 43-292 (Reissue 2016) exists
                     and that termination is in the child’s best interests. 
                3.	 Parental Rights: Abandonment: Words and Phrases. For purposes of
                     Neb. Rev. Stat. § 43-292(1) (Reissue 2016), “abandonment” is a parent’s
                     intentionally withholding from a child, without just cause or excuse, the
                     parent’s presence, care, love, protection, maintenance, and the opportu-
                     nity for the display of parental affection for the child.
                4.	 Guardians and Conservators: Parental Rights. Guardianships give
                     parents an opportunity to temporarily relieve themselves of the burdens
                     involved in raising a child, thereby enabling parents to take those steps
                     necessary to better their situation so they can resume custody of their
                     child in the future.
                 5.	 ____: ____. Although a guardian becomes the caretaker of the child dur-
                     ing the appointment, the parent must still retain an interest in the child
                     and maintain some sort of relationship with the child.
                6.	 Parental Rights: Abandonment: Intent. The failure of the parent to
                     have any contact with the child for far longer than the 6 months required
                     by Neb. Rev. Stat. § 43-292(1) (Reissue 2016) demonstrates the intent to
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                       IN RE INTEREST OF AUSTIN G.
                           Cite as 24 Neb. App. 773
     withhold the parent’s presence, care, love, protection, maintenance, and
     the opportunity for the display of parental affection for the child.
 7.	 Parental Rights: Proof. Only one statutory ground for termination need
     be proved in order for parental rights to be terminated.
 8.	 ____: ____. In addition to proving a statutory ground, the State must
     show that termination is in the best interests of the child.
 9.	 Constitutional Law: Parental Rights: Proof. A parent’s right to raise
     his or her child is constitutionally protected; so before a court may ter-
     minate parental rights, the State must also show that the parent is unfit.
10.	 Parental Rights: Presumptions: Proof. There is a rebuttable presump-
     tion that the best interests of a child are served by having a relationship
     with his or her parent. Based on the idea that fit parents act in the best
     interests of their children, this presumption is overcome only when the
     State has proved that the parent is unfit.
11.	 Parental Rights: Statutes: Words and Phrases. The term “unfitness”
     is not expressly used in Neb. Rev. Stat. § 43-292 (Reissue 2016), but
     the concept is generally encompassed by the fault and neglect subsec-
     tions of that statute, and also through a determination of the child’s
     best interests.
12.	 Constitutional Law: Parental Rights: Words and Phrases. In dis-
     cussing the constitutionally protected relationship between a parent and
     a child, parental unfitness means a personal deficiency or incapacity
     which has prevented, or will probably prevent, performance of a reason-
     able parental obligation in child rearing and which has caused, or prob-
     ably will result in, detriment to a child’s well-being.
13.	 Parental Rights. The best interests analysis and the parental fitness
     analysis are fact-intensive inquiries. And while both are separate inquir­
     ies, each examines essentially the same underlying facts as the other.
14.	 ____. The best interests of a child require termination of parental rights
     when a parent is unable or unwilling to rehabilitate himself or herself
     within a reasonable time.
15.	 ____. Children cannot, and should not, be made to await uncertain
     parental maturity.

  Appeal from the County Court for Wayne County: Ross A.
Stoffer, Judge. Affirmed.

   Kyle C. Dahl for appellant.

  Eric W. Knutson, Deputy Wayne County Attorney, for
appellee.
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                   IN RE INTEREST OF AUSTIN G.
                       Cite as 24 Neb. App. 773
  Mark D. Albin, guardian ad litem.

  Pirtle, Bishop, and A rterburn, Judges.

  Pirtle, Judge.
                        INTRODUCTION
   Kayla S. appeals from an order of the Wayne County Court,
sitting as a juvenile court, which terminated her parental rights
to her minor child, Austin G. Based on the reasons that follow,
we affirm.

                        BACKGROUND
   Kayla is the biological mother of Austin, born in April
2012. On August 6, 2012, the State filed a petition alleg-
ing that Austin came within the meaning of Neb. Rev. Stat.
§ 43-247(3)(a) (Reissue 2008). The petition alleged that Austin
lacked proper parental care by reason of the fault or habits
of Kayla in that she had left him home alone and unattended
for an extended period of time. A motion for temporary
custody was also filed on August 6, and the court entered
an order placing Austin in the temporary care, custody, and
control of the Nebraska Department of Health and Human
Services (Department).
   On August 13, 2012, an adjudication hearing was held,
wherein Kayla entered a plea of admission to the allegation
in the petition, and the court adjudicated Austin pursuant to
§ 43-247(3)(a). A disposition hearing was held on November
5, 2012, and the stated permanency goal was guardianship with
Terry G., Austin’s paternal grandmother. Austin was placed
with Terry on October 11, 2012.
   In December 2012, Kayla and the Department each filed
a consent and waiver to the appointment of Terry and her
husband as guardians for Austin. On December 17, the court
entered an order discharging the Department from its legal
custody of Austin and appointing Terry and her husband as
Austin’s legal guardians.
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                  IN RE INTEREST OF AUSTIN G.
                      Cite as 24 Neb. App. 773
   Kayla filed a motion for a visitation plan on May 3, 2013,
asking the court for an order granting her specific time with
Austin. On August 5, the court entered an order providing
a visitation plan for the parties. It granted Kayla supervised
visits, 2 hours in duration, every Monday and Friday. Prior
to the order regarding visitation, there was no set visita-
tion. Kayla had to call Terry to set up a time that worked for
them both.
   On October 25, 2013, Kayla filed a motion to terminate
the guardianship, which motion was objected to by the guard-
ians. In April 2014, a stipulation was agreed to by the parties
allowing the guardianship to continue. The court approved the
stipulation in May. In October, Kayla filed a motion to dis-
miss the motion to terminate the guardianship and the court
entered an order which dismissed the motion to terminate
the guardianship.
   On May 7, 2015, the guardian ad litem for Austin filed
a motion to terminate Kayla’s parental rights, alleging that
statutory grounds existed to terminate under Neb. Rev. Stat.
§ 43-292(1) through (3) and (6) (Reissue 2016) and that ter-
mination was in Austin’s best interests. Trial on the motion
to terminate was held on 3 days between October 2015 and
June 2016.
   The caseworker appointed to Austin’s case after he was
removed from Kayla’s care testified that she initially wanted
to do an in-home plan for Austin so he could be placed back
in Kayla’s care. However, Kayla missed a team meeting at
which time the plan was discussed, and the caseworker testi-
fied that she had a difficult time locating Kayla after Austin
was removed. When she did make contact, Kayla had no home
for Austin to go to, and she had no means to provide for him.
The caseworker’s involvement with Austin’s case ended after
the guardianship was established in December 2012.
   Kayla testified that she was charged with child abuse as a
result of leaving Austin home alone, as alleged in the petition
to adjudicate, and was sentenced to probation in October 2012.
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                   IN RE INTEREST OF AUSTIN G.
                       Cite as 24 Neb. App. 773
Her probation was revoked after she was charged with driving
under suspension. She was sentenced to 23 days in jail.
   Kayla testified that she was using methamphetamine
between August and November 2012. She testified that dur-
ing that time, she missed meetings with the caseworker, but
made a few of the visits with Austin that were set up. She also
testified that she had to move out of the home where she was
living when Austin was removed and that she was homeless
for a period of time.
   Kayla completed an alcohol and drug evaluation in December
2012, which recommended “intensive outpatient treatment,”
which she participated in and completed in the fall of 2013.
She testified that she has not used alcohol and drugs since
November 2012.
   Kayla lived at a homeless shelter from November 2012
through February or March 2013. She then moved in with her
parents in Pilger, Nebraska. Kayla’s father is a convicted sex
offender as a result of sexually assaulting Kayla’s sister. Kayla
lived with her parents until May, when she moved to Stanton,
Nebraska. On December 9, Kayla married Jacob M., and they
moved to Norfolk, Nebraska, in February 2014. In August,
Kayla and Jacob moved to Independence, Missouri, and lived
with Jacob’s mother. In March or April 2015, they moved
back to Nebraska and lived in a hotel in Tecumseh, Nebraska,
where Jacob was doing maintenance work. Kayla and Jacob
moved back in with Kayla’s parents in Pilger in August. This
is where they were living on the first and second days of trial,
October 26, 2015, and March 28, 2016, respectively. Kayla
testified that she and Jacob planned to continue living with
her parents. However, on the last day of trial, June 21, Kayla
and Jacob were living in Wayne, Nebraska. They have two
children together—the first was born in May 2014, and the
second in April 2015. On the last day of trial, Kayla stated she
was pregnant.
   Kayla has been employed at various times since the guard-
ianship was established. She was employed full time by a
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                   IN RE INTEREST OF AUSTIN G.
                       Cite as 24 Neb. App. 773
manufacturing company from October 2012 to January 2013.
She then worked part time for a restaurant for a few months
in 2013. After that, she worked at a convenience store for 6
months to a year. She did not work when she lived in Missouri.
Kayla started working for a consulting service in November
2015, working 25 to 30 hours per week. She testified that
Jacob was not working at that time because he was in jail for
4 months. On the last day of trial, Kayla did not have a job.
She testified that she quit her job with the consulting service in
May 2016, because Jacob obtained employment in Wayne and
they moved there.
   Kayla testified that she has been paying child support
“here and there.” She testified that the only payments that
have been made have been taken out of her paychecks dur-
ing times she was working; she has not made any payments
on her own. She also testified that she has not provided any-
thing else for Austin, such as clothes, diapers, or toys, since
September 2014.
   Kayla testified that her last visit with Austin was in August
2014, before she and Jacob moved to Missouri. She admit-
ted to having Terry’s telephone number, and Terry testified
that her number has not changed. Kayla testified that she did
not always have a telephone, but had use of Jacob’s mother’s
telephone during the time she lived in Missouri. When Kayla
moved back to Nebraska, she had access to a telephone through
the hotel where she and Jacob were living. She also had access
to a telephone at her parents’ home. Terry testified that Kayla
has provided her with various telephone numbers over the
years and that Kayla usually had a telephone.
   At the time Kayla moved to Missouri in August 2014, there
was a pending criminal charge of driving under suspension
against Kayla in Madison County, Nebraska. An arrest warrant
was subsequently issued, which remained outstanding until
she moved back to Nebraska in 2015. She testified that the
arrest warrant and the charge were resolved around August or
September 2015.
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                   IN RE INTEREST OF AUSTIN G.
                       Cite as 24 Neb. App. 773
   Kayla testified that she has made positive changes to her
life since Austin was removed in August 2012. She testified
that she has not used drugs or alcohol since 2012. She has not
had any criminal charges against her since 2014. She has com-
pleted intensive outpatient therapy and a “Moral Recognition
Therapy” class.
   Terry testified that she kept track of Kayla’s visits on cal-
endars. These calendars were entered into evidence, as well as
a summary of the visitation tracked in the calendars that was
prepared by Terry. Terry testified that Kayla had no visits with
Austin between January and April 2013 and that Kayla did not
contact Terry during that time. Between September 2012 and
February 6, 2015, 251 visits were scheduled. Kayla attended
108 of the visits and missed 143 visits.
   Terry stated that Kayla’s last visit was August 5, 2014. She
testified that from August 5 until October 1, she tried to call or
text Kayla on a regular basis to offer her visitation, but got no
response. She testified that there has been no contact between
Kayla and Austin since August 2014. Kayla had not sent him
any letters, cards, or gifts.
   Terry testified that Kayla asked for a visit with Austin at
a court appearance in December 2015, which was after the
termination trial had begun. Terry told her it would not be in
Austin’s best interests because this would be the first contact
with him since August 2014.
   Kayla testified that she did not have many visits with
Austin between June and August 2014 because Terry’s house
was destroyed by a tornado in June and Terry was busy with
the cleanup and could not meet for visits. Kayla also testi-
fied that she did not have transportation at that time. She
testified that in August 2014, Terry stopped the visits. Kayla
stated that she kept trying to make contact and that it was
not her intent to stop seeing Austin. She also testified that
after moving to Missouri in August 2014, she texted Terry
one time and did not get a response. She stated that Terry
never tried to contact her. She also admitted that when she
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          Nebraska Court of A ppeals A dvance Sheets
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                   IN RE INTEREST OF AUSTIN G.
                       Cite as 24 Neb. App. 773
lived in Missouri, she never gave Terry her address or current
telephone number.
   She testified that she tried contacting Terry on one occasion
when she moved back to Nebraska from Missouri, but she got
no response. Kayla also testified that she tried to take Austin
presents on his birthday in April 2016, but Terry would not
accept them.
   Terry testified that after the tornado hit in June 2014, she
still offered Kayla visits on Mondays and Fridays at an alter-
nate location. She testified that Kayla did not try to contact her
between September and December 2014 after Kayla moved to
Missouri. She testified that she did not receive any voice mes-
sages or texts from Kayla on her telephone. She also testified
that she did not receive any calls or texts from Kayla in 2015.
Terry testified that she has had the same telephone number for
at least the past 10 years.
   Following trial, the court entered an order terminating
Kayla’s parental rights to Austin and finding that there was
clear and convincing evidence to support termination under
§ 43-292(1) through (3), but not (6). It further found that termi-
nation of Kayla’s rights was in Austin’s best interests.

                 ASSIGNMENTS OF ERROR
   Kayla assigns that the juvenile court erred in (1) finding
there was clear and convincing evidence that statutory grounds
existed to terminate her rights and (2) finding there was
clear and convincing evidence to establish that terminating her
parental rights was in Austin’s best interests.

                  STANDARD OF REVIEW
   [1] An appellate court reviews juvenile cases de novo on
the record and reaches its conclusions independently of the
juvenile court’s findings. When the evidence is in conflict,
however, an appellate court may give weight to the fact that the
lower court observed the witnesses and accepted one version of
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                   IN RE INTEREST OF AUSTIN G.
                       Cite as 24 Neb. App. 773
the facts over the other. In re Interest of Octavio B. et al., 290
Neb. 589, 861 N.W.2d 415 (2015).

                            ANALYSIS
Statutory Grounds for Termination.
   [2] In order to terminate parental rights, a court must find
clear and convincing evidence that one of the statutory grounds
enumerated in § 43-292 exists and that termination is in the
child’s best interests. In re Interest of Alec S., 294 Neb. 784,
884 N.W.2d 701 (2016). In the present case, the juvenile court
found that the State established by clear and convincing evi-
dence that grounds for termination existed under § 43-292(1)
through (3).
   [3] Section 43-292(1) requires proof that “[t]he parents
have abandoned the juvenile for six months or more imme-
diately prior to the filing of the petition.” For purposes of
§ 43-292(1), “abandonment” is a parent’s intentionally with-
holding from a child, without just cause or excuse, the parent’s
presence, care, love, protection, maintenance, and the oppor-
tunity for the display of parental affection for the child. In re
Interest of Justine J. &amp; Sylissa J., 288 Neb. 607, 849 N.W.2d
509 (2014).
   The motion to terminate Kayla’s parental rights to Austin
was filed on May 7, 2015. At the time the motion was filed,
Kayla had not had a visit with Austin since August 5, 2014,
which was 9 months before the motion was filed. She had no
contact with Austin during that time. She did not send him
any letters, cards, or gifts. Since at least September 2014, she
had not provided him with any necessities, such as clothes
or diapers, nor had she provided any nonnecessities, such as
toys. She moved out of the state from August 2014 to March
or April 2015, indicating an intent to withhold her “presence,
care, love, protection, maintenance, and the opportunity for
the display of parental affection” for Austin. See id. at 612,
849 N.W.2d at 513. Even after moving back to Nebraska, she
failed to have contact with Austin. She testified that she had
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                  IN RE INTEREST OF AUSTIN G.
                      Cite as 24 Neb. App. 773
Terry’s telephone number, and Terry testified that her number
has not changed for at least 10 years. She also testified that
she either had a telephone or had access to a telephone, yet
she never contacted Terry. Kayla testified that she tried to
contact Terry once after Kayla moved to Missouri and once
after she returned to Nebraska, but Terry testified that she
had not received any calls or texts from Kayla. Terry also
testified that Kayla did not respond when she tried to con-
tact her about having visits with Austin. Kayla provided no
reasonable explanation for her failure to have contact with
Austin since August 5, 2014. As of the first day of trial,
October 26, 2015, Kayla had not had contact with Austin for
over 14 months.
   [4-6] The fact that Austin was in a guardianship does not
excuse Kayla’s lack of contact. Guardianships give parents
an opportunity to temporarily relieve themselves of the bur-
dens involved in raising a child, thereby enabling parents
to take those steps necessary to better their situation so
they can resume custody of their child in the future. In re
Guardianship of D.J., 268 Neb. 239, 682 N.W.2d 238 (2004).
Although a guardian becomes the caretaker of the child dur-
ing the appointment, the parent must still retain an interest
in the child and maintain some sort of relationship with the
child. See id. The failure of the parent to have any contact
with the child for far longer than the 6 months required by
§ 43-292(1), as in the present case, demonstrates the intent
to withhold the parent’s presence, care, love, protection,
maintenance, and the opportunity for the display of parental
affection for the child. We conclude that the juvenile court did
not err in finding that § 43-292(1) was proved by clear and
convincing evidence.
   [7] Only one statutory ground for termination need be
proved in order for parental rights to be terminated. In re
Interest of Kendra M. et al., 283 Neb. 1014, 814 N.W.2d 747(2012). Because we conclude that there is clear and convinc-
ing evidence to show that Kayla abandoned Austin pursuant to
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§ 43-292(1), we need not discuss the other statutory grounds
which the court found to exist.

Best Interests and Parental Fitness.
   [8-13] Kayla next asserts the juvenile court erred in find-
ing that termination of her parental rights was in Austin’s best
interests. In addition to proving a statutory ground, the State
must show that termination is in the best interests of the child.
In re Interest of Kendra M. et al., supra. A parent’s right to
raise his or her child is constitutionally protected; so before a
court may terminate parental rights, the State must also show
that the parent is unfit. Id. There is a rebuttable presump-
tion that the best interests of a child are served by having a
relationship with his or her parent. Based on the idea that fit
parents act in the best interests of their children, this presump-
tion is overcome only when the State has proved that the par-
ent is unfit. Id. The term “unfitness” is not expressly used in
§ 43-292, but the concept is generally encompassed by the
fault and neglect subsections of that statute, and also through
a determination of the child’s best interests. In re Interest of
Kendra M. et al., supra. In discussing the constitutionally
protected relationship between a parent and a child, we have
stated: “‘“Parental unfitness means a personal deficiency or
incapacity which has prevented, or will probably prevent, per-
formance of a reasonable parental obligation in child rearing
and which has caused, or probably will result in, detriment to a
child’s well-being.”’” Id. at 1033-34, 814 N.W.2d at 761, quot-
ing Uhing v. Uhing, 241 Neb. 368, 488 N.W.2d 366 (1992).
The best interests analysis and the parental fitness analysis are
fact-intensive inquiries. And while both are separate inquiries,
each examines essentially the same underlying facts as the
other. In re Interest of Kendra M. et al., supra.
   As the juvenile court pointed out, the evidence presented
in this case is different from the evidence in most termination
cases, because Austin is in a guardianship situation and the
Department is not involved:
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         The nature of this case, being in the form of a ter-
      mination of parental rights filed while the child is in a
      guardianship, prevents the presentation of the type of
      best interest evidence typically found in a juvenile court
      termination of parental rights case. With the child in a
      guardianship, no [Department] or family support workers
      are involved. Since the child is doing well in the cur-
      rent placement, there is no need for therapists. However,
      the person most able to testify about Austin’s condition,
      circumstances and best interests, both before and after
      the filing of the termination petition, Austin’s guardian/
      grandmother [Terry], did testify and confirmed Austin’s
      relationship with her and her husband and that he is doing
      well in the current placement.
   Kayla argued in her brief and at oral argument that Kenneth
C. v. Lacie H., 286 Neb. 799, 839 N.W.2d 305 (2013), is simi-
lar to the case at hand and should be relied on in determining
whether termination is in Austin’s best interests. In Kenneth
C., the district court terminated the father’s parental rights to
his son, finding that the father had abandoned the child under
§ 43-292(1) and that termination was in the child’s best inter-
ests. The father had not had any direct contact with his son
in approximately 4 years. On appeal, the Nebraska Supreme
Court reversed the termination of the father’s parental rights,
concluding that it had not been shown that termination was
in the child’s best interests. The court stated that statutory
grounds are based on a parent’s past conduct, but the best
interests element focuses on the future well-being of the child.
The court found that there was ample evidence in the record
that the father had not fulfilled his parental obligations to
the child in the past, but there was almost no evidence as to
whether the current circumstances were such that termina-
tion of the father’s parental rights would be in the child’s
best interests.
   We conclude that Kenneth C. v. Lacie H., supra, can be dis-
tinguished from the case at hand. Kenneth C. is procedurally
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different from the present case in that Kenneth C. was a
paternity action brought by the father seeking a determina-
tion of paternity and visitation with the child, and the mother
counterclaimed with a motion to terminate the father’s paren-
tal rights. The present case is a termination action brought
by Austin’s guardian ad litem and involves a guardian-
ship situation.
   Further, in Kenneth C., the court noted that the child’s need
for permanency was not of the same magnitude as a child who
has been in foster care for an extended period of time because
the child would have permanency with his mother, regardless
of whether the father’s rights were terminated. In the present
case, although Austin has not been in foster care, he has been
in a temporary guardianship for an extended period of time.
   Finally, we determine that there is sufficient evidence to
make a determination of whether the current circumstances are
such that termination of Kayla’s parental rights would be in
Austin’s best interests.
   Kayla’s actions from the time Austin was removed from
her care in August 2012 to the time of trial have demonstrated
her unwillingness to be Austin’s parent. The caseworker testi-
fied that Kayla was difficult to locate right after Austin was
taken away and that Kayla missed a team meeting to discuss
a plan for Austin’s care. After the guardianship was estab-
lished, Kayla’s visits with Austin were inconsistent. Between
September 2012 and February 6, 2015, Kayla had missed
over one-half of her scheduled visits. As previously discussed,
Kayla had not had contact with Austin since August 2014.
   Austin was removed from Kayla’s care when he was less
than 4 months old. He turned 4 years old during the course
of the termination trial. Austin has had no relationship with
Kayla and certainly nothing that resembles a parent-child rela-
tionship. There was no evidence of any type of bond between
Austin and Kayla, and nothing to show that Austin knows that
Kayla is his mother. Terry testified that she did not remember
Austin ever calling Kayla “‘Mom’” when he had visits, and
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she stated that Austin called Kayla the babysitter’s name a
couple times. Further, as the juvenile court stated:
         One thing that is clear from the evidence is that Austin
      will suffer no consequences from the termination of the
      parental relationship with [Kayla] that is inherent in
      a termination of parental rights since [Terry] testified
      that there is no such relationship and that Austin has
      no knowledge of his mother. There was no evidence
      presented of a beneficial bond between Austin and his
      mother. This evidence was not contradicted by [Kayla]
      other than testimony about inconsistent visitations that
      took place prior to August, 2014; those visitations taking
      place at or prior to the time Austin was approximately
      30 months old. In contrast, to not act at the present time
      would place Austin in a situation where he might lose the
      only “parents” he has known since he was approximately
      eight months old.
   The guardianship has been in place since December 2012.
At the time of trial, Kayla indicated that she was not ask-
ing for custody of Austin and that she was not opposed to
continuations of the guardianship. Kayla had filed a motion
to terminate the guardianship in 2013, but the motion was
subsequently dismissed by Kayla. The record demonstrates
that Kayla has been and continues to be content with Terry’s
providing Austin the emotional and physical care he needs and
has no intention of trying to regain custody.
   Although Kayla has made progress in regard to her lifestyle
since August 2012, she continues to struggle with stability in
housing and employment. She has moved multiple times to
various towns and out of state. She had most recently moved
between the second and third days of trial, March 28 and June
20, 2016, respectively. She and Jacob moved from Kayla’s
parents’ house in Pilger to Wayne. Kayla has struggled to have
her own housing, living with her parents on two occasions
(including her father who is a convicted sex offender) and her
mother-in-law. She has also had inconsistency in employment,
                             - 787 -
         Nebraska Court of A ppeals A dvance Sheets
              24 Nebraska A ppellate R eports
                  IN RE INTEREST OF AUSTIN G.
                      Cite as 24 Neb. App. 773
resulting in her failure to consistently pay her court-ordered
child support. On the third and last day of trial, Kayla was
not working because she had quit her job because they moved
to Wayne.
   [14,15] Based upon our de novo review of the record, we
find clear and convincing evidence that Kayla’s personal
deficiencies have prevented her from performing her reason-
able parental obligations to Austin in the past, and would
likely prevent her from doing so in the future. Accordingly,
the presumption of fitness has been rebutted. We also find
that it was shown by clear and convincing evidence that ter-
mination of Kayla’s parental rights would be in Austin’s best
interests. The best interests of a child require termination of
parental rights when a parent is unable or unwilling to reha-
bilitate himself or herself within a reasonable time. Wayne G.
v. Jacqueline W., 21 Neb. App. 551, 842 N.W.2d 125 (2013).
Children cannot, and should not, be made to await uncertain
parental maturity. Id.                      CONCLUSION
   We conclude that the county court for Wayne County, sit-
ting as a juvenile court, did not err in terminating Kayla’s
parental rights to Austin. Accordingly, the court’s order is
affirmed.
                                                  A ffirmed.
